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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MICHIGAN
                            NORTHERN DIVISION

UNITED STATES OF AMERICA

v.                                                    Case No. 2:06-CR-15-4
                                                      HON. R. ALLAN EDGAR
CHRISTOPHER STEVEN YACKEL,
                                     /

                        ORDER APPROVING AND ADOPTING
                         REPORT AND RECOMMENDATION

      The Court has reviewed the Report and Recommendation filed by the United

States Magistrate Judge in this action. The Report and Recommendation was duly

served on the parties, and no objections have been filed thereto within the time required

by law.

      THEREFORE, IT IS ORDERED that:

      1. The Report and recommendation of the Magistrate filed 7/12/06, Docket #88,

is approved and adopted as the Opinion and Findings of this Court.

      2. Defendant Christopher Steven Yackel’s plea of guilty to Count 12 of the

Indictment is accepted. Defendant Christopher Steven Yackel is adjudicated guilty.

      3. A decision of whether to accept the written plea agreement will be made at

the time of sentencing after the Court has had the opportunity to review the Pre-

sentence Investigation Report. See U.S.S.G. Ch. 6.

      SO ORDERED.

      Dated: 8/2/06

                                                      /s/ R. Allan Edgar
                                                        R. ALLAN EDGAR
                                               UNITED STATES DISTRICT JUDGE
